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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  CV 19-05408-PSG

14              Plaintiff,                      [CR 11-00762-PSG]

15                    v.                        [PR    SED] ORDER

16   JANETH BREWER,

17              Defendant.

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19         GOOD CAUSE being shown, and based upon the parties' agreement

20   and upon their stipulation to the facts set forth in their joint
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     filing, the Court hereby enters the following order:
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           1.   Defendant/Petitioner JANETH BREWER'S previously-entered
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     guilty plea to conspiracy to commit loan fraud and wire fraud, and
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     her conviction and sentence in United States v. Janette Brewer, CR 11-
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     762-PSG, are hereby set aside and vacated; and
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           2.   Defendant/Petitioner JANETH BREWER shall be permitted to
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     enter into a plea agreement to a new Information, charging her with
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     misprision of a felony, in violation of 18 U.S.C. ~ 4, which the
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 1   Court will set for a change of plea hearing promptly after the new

 2   plea agreement and Information are filed.

 3               IT IS SO ORDERED.

 4   DATED: November /~, 2019
                                          HON. P    P S. GUTI
 5                                        UNITED STATES DISTRICT JUDGE
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